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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-mj-00025-NRN

UNITED STATES OF AMERICA,

       Plaintiff,

v.

LEONARD L. LUTON,

       Defendant.


                GOVERNMENT’S MOTION TO SUBSTITUTE REDACTED
                     AFFIDAVIT AND MODIFY RESTRICTION



       The United States of America, by and through Martha A. Paluch, Assistant

United States Attorney, hereby moves the Court to substitute the redacted affidavit, filed

herewith, for the affidavit that was originally filed in this case, and then modify restriction

from the current restriction of Level 3 to Level 1 so that the documents in this case are

accessible to the Court, defense counsel, and the government. As grounds, the

government submits the following:

       1. A Criminal Complaint, Affidavit in Support of Criminal Complaint, Arrest

Warrant, and Motion to Restrict were filed in this case on January 31, 2019. ECF 1.

       2. The affidavit filed referenced the full names, dates of birth, and addresses of

the victims in the case.

       3. The government has redacted that personal identifying information and

requests that the Court substitute the redacted affidavit filed herewith for the original

affidavit filed on January 31, 2019.

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       4. Should the Court grant this request and substitute the redacted affidavit for

the original, the government then respectfully requests that the Court modify the

restriction level in this case from its current Level 3 restriction to Level 1 restriction so

that the Court, defense counsel, and the government will have access to the filings in

this case. The government also requests that the original affidavit remain restricted at

Level 3 to protect the personal identifying information of the victims.

       5. Restriction of the redacted affidavit and all pleadings in this case at Level 1 is

appropriate under D.C.Colo.LCrR 47.1 for the following reasons: 1) the interests stated

herein outweigh the presumption of public access; 2) clearly defined and serious injury

would result if access is not restricted at Level 1, and; 3) only restricted access will

adequately protect the interests in question. These interests are further described as

follows: The government is continuing to investigate additional targets of the conspiracy

alleged in the complaint and affidavit. The government believes that certain of these

targets, located in the United States and Jamaica, are unaware of the continuing

investigation. Further, this case involves a national investigation of other targets and/or

other possible locations where evidence of crimes may be located, such as on

computers and cellphones subject to the control of the targets. Accordingly, it is

necessary to maintain the secrecy of the investigation, as there is reason to believe that

public disclosure of this investigation identified in the redacted affidavit will seriously

jeopardize the investigation by giving the targets, known and unknown, an opportunity

to flee from prosecution, destroy, or tamper with evidence.




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       6. Restricting public access (at a Level 1) to the redacted affidavit and all case

filings is the only practicable way to maintain the secrecy of the investigation and to

adequately protect these concerns.

       7. Restricting access at a Level 3 for the unredacted affidavit is the only

practicable way to protect the personal identifying information of the victims contained in

the original affidavit.

       8. Once the government believes its investigation is complete, it will promptly

move for the Court to unrestrict the case.



                                             Respectfully submitted,

                                             JASON R. DUNN
                                             United States Attorney

                                             s/ Martha A. Paluch
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